    Case 2:24-cr-00105-WBV-JVM             Document 205         Filed 02/28/25      Page 1 of 3




MINUTE ENTRY
VITTER, J.
FEBRUARY 28, 20225
JS10, 0:35
                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                              CRIMINAL ACTION

VERSUS                                                                NO. 24-105-ALL

RYAN HARRIS                                                           SECTION: D (1)
JOVANNA R. GARDNER
SEAN D. ALFORTISH
VANESSA MOTTA
MOTTA LAW, LLC
JASON F. GILES
LEON M. PARKER
DIAMINIKE F. STALBERT
CARL G. MORGAN
TIMARA N. LAWRENCE 1


          TELEPHONE STATUS CONFERENCE REPORT AND ORDER
       On February 28, 2025, the Court held a Telephone Status Conference in this

matter.

       PRESENT:

               Matthew R. Payne, Brian M. Klebba, Mary Katherine Kaufman,
               Ryan McLaren
               Counsel for the Government

               Shaun G. Clarke
               Counsel for Sean D. Alfortish

               Sean M. Toomey
               Counsel for Vanessa Motta and Motta Law, LLC

               David I. Courcelle and Scott C. Stansbury

1
 The pre-trial conference set for this date was converted to a telephone status conference. See R.
Doc. 201.
    Case 2:24-cr-00105-WBV-JVM         Document 205    Filed 02/28/25   Page 2 of 3




                 Counsel for Jason F. Giles and King Firm, LLC

                 Stephen J. Haedicke
                 Counsel for Leon M. Parker

                 Eddie J. Jordan, Jr. and Hester R. Hilliard
                 Counsel for Diaminike F. Stalbert

                 Michael G. Raspanti
                 Counsel for Carl G. Morgan

                 Rachel M. Yazbeck
                 Counsel for Timara N. Lawrence


        During the conference, the Court discussed with counsel the pending trial date.

The Court ordered that any motion to continue the current trial date shall be filed on

or before Monday, March 3, 2025, and any opposition to any such motion shall be filed

on or before Thursday, March 6, 2025. No reply briefs shall be filed, and any motion

to continue the trial date shall be submitted on Thursday, March 6, 2025. Counsel

for Vanessa Motta orally moved to withdraw her pending Motion to Enforce the

Speedy Trial Act, 2 and the Court granted the oral motion to withdraw.

        Accordingly,

        IT IS ORDERED that the Motion to Enforce the Speedy Trial Act 3 filed by

Vanessa Motta is WITHDRAWN from the record.

        IT IS FURTHER ORDERED that any motion to continue the current trial

date shall be filed on or before March 3, 2025. Any opposition to any such motion




2 R. Doc. 200.
3 Id.
   Case 2:24-cr-00105-WBV-JVM       Document 205     Filed 02/28/25   Page 3 of 3




shall be filed on or before March 6, 2025, and the motion shall be submitted at this

time.

        New Orleans, Louisiana, February 28, 2025.




                                      ______________________________
                                      WENDY B. VITTER
                                      United States District Judge
